OPINION — AG — ** REQUIREMENTS — BOARD OF COSMETOLOGY MEMBERS ** TWO MEMBERS OF THE STATE BOARD OF COSMETOLOGY WHO ARE GRADUATES OF THE SAME BEAUTY SCHOOL, EVEN THOUGH ONE MAY ALSO HAVE RECEIVED ADDITIONAL TRAINING AND GRADUATED FROM ANOTHER BEAUTY SCHOOL, MAY NOT CONCURRENTLY SERVE AS MEMBERS OF THE STATE BOARD OF COSMETOLOGY. CITE: 59 O.S. 1971 199.2 [59-199.2] (JAMES BARNETT)